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1:21 PM                                       Alliance Energy Partners
01/19/22                                             Balance Sheet
Accrual Basis                                      As of December 31, 2021

                                                                             Dec 31, 21
                       ASSETS
                         Current Assets
                           Checking/Savings
                             BB&T Business Checking                            1,575,917.19

                           Total Checking/Savings                              1,575,917.19

                           Accounts Receivable
                             Accounts Receivable                               3,272,216.25

                           Total Accounts Receivable                           3,272,216.25

                         Total Current Assets                                  4,848,133.44

                         Fixed Assets
                           2021 Mercedes                                         335,440.25
                           Drilling Motors                                        89,840.00
                           F150 Truck - 6103                                      53,070.41
                           Ford Truck - Dustin - 5943                             74,000.00
                           Furniture and Equipment                                 5,143.26
                           Golf Cart                                              10,000.00

                         Total Fixed Assets                                      567,493.92

                         Other Assets
                           Investment - Isodrill                               1,125,000.00

                         Total Other Assets                                    1,125,000.00

                       TOTAL ASSETS                                            6,540,627.36

                       LIABILITIES & EQUITY
                         Liabilities
                           Current Liabilities
                              Accounts Payable
                                  Accounts Payable                             2,477,782.36

                              Total Accounts Payable                           2,477,782.36

                              Other Current Liabilities
                                BB&T Line of Credit                               -1,772.60

                              Total Other Current Liabilities                     -1,772.60

                           Total Current Liabilities                           2,476,009.76

                           Long Term Liabilities
                             NP - F150 Truck                                      44,457.21
                             NP - Mercedes                                       212,223.02

                           Total Long Term Liabilities                           256,680.23

                         Total Liabilities                                     2,732,689.99

                         Equity
                           Member 1 Draws                                       -642,554.73
                           Member 1 Equity                                        67,000.00
                           Member 2 Draws                                       -206,000.00
                           Retained Earnings                                     216,650.61
                           Net Income                                          4,372,841.49

                         Total Equity                                          3,807,937.37

                       TOTAL LIABILITIES & EQUITY                              6,540,627.36




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